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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


    UNITED STATES OF AMERICA,

           Plaintiff,

    and

    OSAGE MINERALS COUNCIL,

           Plaintiff-Intervenor,             Court No. 4:14-cv-00704-JCG-JFJ

    v.

    OSAGE WIND, LLC, ENEL
    KANSAS, LLC, AND ENEL
    GREEN POWER NORTH
    AMERICA, INC.,

           Defendants.


                                OPINION AND ORDER

          This Court found Defendants Osage Wind, LLC (“Osage Wind”), Enel

   Kansas, LLC, and Enel Green Power North America, Inc. (collectively,

   “Defendants”) liable for conversion, trespass, and continuing trespass related to the

   construction of a wind farm in Osage County, Oklahoma and ordered declaratory

   relief, monetary damages, and injunctive relief in the form of ejection of the wind

   farm. United States v. Osage Wind, LLC (“Osage Wind II”), 710 F. Supp. 3d

   1018, 1042–43 (N.D. Okla. 2023); United States v. Osage Wind, LLC (“Osage
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   Wind III”) 2024 WL 5158188, at *32 (N.D. Okla. Dec. 18, 2024); see also United

   States v. Osage Wind, LLC (“Osage Wind I”), 871 F.3d 1078 (10th Cir. 2017).

   Now before the Court is Defendants’ Motion to Stay Judgment Pending Appeal

   and Brief in Support, seeking a stay of the monetary and injunctive relief awarded

   by the Court. Defs.’ Mot. Stay J. Pending Appeal Br. Supp. (“Defs.’ Br.”) [Doc.

   520]. Plaintiff United States (“Plaintiff”) and Plaintiff-Intervenor Osage Minerals

   Council (“Plaintiff-Intervenor”) filed responses. Pl.’s Resp. Defs.’ Mot. Stay J.

   Pending Appeal Br. Supp. (“Pl.’s Resp.”) [Doc. 529]; Pl.-Interv.’s Resp. Mot. Stay

   (“Pl.-Interv.’s Resp.”) [Doc. 530]. Defendants filed Defendants’ Reply in Support

   of Motion to Stay Judgment Pending Appeal. Defs.’ Reply Supp. Mot. Stay J.

   Pending Appeal (“Defs.’ Reply”) [Doc. 531]. For the following reasons,

   Defendants’ motion is granted and the Court orders that Defendants shall post a

   bond in the amount of $10,036,500.00.

                                     BACKGROUND

         The Court presumes familiarity with the underlying facts and procedural

   history of this case and recites the facts relevant to the Court’s consideration of the

   pending motion. Osage Wind III, 2024 WL 5158188, at *1–3; Osage Wind II, 710

   F. Supp. 3d at 1025–29; Osage Wind I, 871 F.3d at 1082–84.

         Following remand of this case by the U.S. Court of Appeals for the Tenth

   Circuit (“Tenth Circuit Court of Appeals”), Plaintiff and Plaintiff-Intervenor filed
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   motions for summary judgment and Defendants filed a motion for partial summary

   judgment. Pl.-Interv.’s Mot. Summ. J. [Doc. 294]; Defs.’ Mot. Part. Summ. J.

   Opening Br. Supp. [Doc. 297]; Pl.’s Mot. Summ. J. [Doc. 300]. This Court

   granted summary judgment as to liability on Plaintiff’s and Plaintiff-Intervenor’s

   claims of conversion, trespass, and continuing trespass and held that Plaintiff and

   Plaintiff-Intervenor are entitled to monetary damages on their conversion and

   trespass claims and equitable relief in the form of ejectment on their continuing

   trespass claims. Osage Wind II, 710 F. Supp. 3d at 1042.

         A damages bench trial began on May 21, 2024. Min. Orders [Docs. 456–

   64]. Closing arguments took place on July 9, 2024. Min. Order [Doc. 491]. The

   Parties submitted post-trial briefs. Pl.’s Resp. Defs.’ Br. Resp. July 10, 2024 Order

   Concerning Trespass Damages [Doc. 501]; Pl.-Interv.’s Resp. Defs.’ Br. Resp. July

   10, 2024 Order [Doc. 503]; Defs.’ Reply Supp. Br. Resp. July 10, 2024 Order

   [Doc. 505]; see also Order (July 31, 2024) [Doc. 500]. The Parties filed additional

   briefs addressing the availability of awarding fees and costs. Pl.’s Br. Entitlement

   Att’ys’ Fees Cost [Doc. 495]; Defs.’ Br. Resp. July 10, 2024 Order [Doc. 496]; Pl.-

   Intervs.’ Br. Supp. Att’y Fees Costs [Doc. 498]; Defs.’ Resp. Pl.’s Br. Entitlement

   Att’ys’ Fees Costs [Doc. 502]; Pl.’s Reply Br. Entitlement Att’ys’ Fees Costs

   [Doc. 504]; Pl.-Interv.’s Reply Entitlement Att’y Fees Costs [Doc. 506]; see also

   Order (July 10, 2024) [Doc. 492]. At the request of the Court, the Parties filed
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   additional briefing on the quantum of fees and costs that Plaintiff and Plaintiff-

   Intervenor sought to recover. Letter (Dec. 4, 2024) [Doc. 511]; Pl.’s Quantum

   Att’ys’ Fees, Costs, & Expenses [Doc. 513]; Defs.’ Resp. Pls.’ Br. Quantum

   Att’ys’ Fees & Costs [Doc. 514].

         Upon consideration of the testimony at trial and the Parties’ supplemental

   briefing, this Court awarded Plaintiff and Plaintiff-Intervenor $242,652.28 in

   damages on the claims of conversion and $66,780.00 in damages on the claims of

   trespass. Osage Wind III, 2024 WL 5158188, at *32. Defendants were ordered to

   remove the wind farm from the Osage Mineral Estate and return the Osage Mineral

   Estate to its pre-trespass condition. Id. Plaintiff was awarded $1,943,666.17 for

   attorneys’ fees and $32,554.08 for costs incurred during the case. Id. Plaintiff-

   Intervenor was awarded $1,822,575.85 in attorneys’ fees and $88,891.78 in costs

   incurred during the case. Id. Defendants timely filed an appeal of the Court’s

   judgment.

                                      DISCUSSION

         Defendants contend that the Court should stay execution of the monetary

   award because Defendants are willing to post a supersedeas bond sufficient to

   cover the amount awarded by the Court on the claims of conversion and trespass

   and for Plaintiff’s and Plaintiff-Intervenor’s costs and attorneys’ fees to date.
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   Defs.’ Br. at 5–6. Defendants further argue that the Court should stay enforcement

   of its award of injunctive relief pending appeal. Id. at 7–22.

         I.     Monetary Damages

         Defendants have advised the Court that they have entered into an agreement

   with Federal Insurance Company to post a supersedeas bond in the amount of

   $5,036,500.00. Defs.’ Br. at 6. Defendants contend that the $5,036,500.00 bond

   “is more than sufficient to secure payment of the Monetary Award, as well as any

   additional costs, expenses or interest that might be owed, should that Award be

   affirmed.”1 Id. Plaintiff and Plaintiff-Intervenor argue that the amount proposed

   by Defendants is insufficient. Pl.’s Resp. at 1–3; Pl.-Interv.’s Resp. at 3–6.

         Federal Rule of Civil Procedure 62(a) provides that execution on a monetary

   award is automatically stayed for 30 days after entry, unless the court orders

   otherwise. Fed. R. Civ. P. 62(a). A further stay may be granted if the party against

   whom the award was made provides an appropriate bond or other security. Fed. R.

   Civ. P. 62(b).




   1
     Defendants further represent that they are prepared to remit the $242,652.28
   awarded on the conversion claim if Plaintiff and Plaintiff-Intervenor are willing to
   “agree that such payment is without prejudice to Defendants’ rights to appeal the
   trespass claims and the related damages and injunctive relief awarded.” Defs.’ Br.
   at 6 n.3. Plaintiff and Plaintiff-Intervenor have not indicated that they agree to this
   condition.
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         As an initial matter, Plaintiff-Intervenor argues that a stay of the monetary

   award is not appropriate because Defendants do not appear to be appealing the

   Court’s judgment on the claims of trespass and conversion. Pl.-Interv.’s Resp. at

   2–3. The only case Plaintiff-Intervenor offers in support of its argument is Allen

   F. Johnson, LLC v. Port Security International, LLC, 642 F. Supp. 2d 533, 536

   (E.D. Va. 2009). Pl.-Interv.’s Resp. at 3. In Allen F. Johnson, the court awarded

   the plaintiff $230,400.00 on a breach of contract claim but held that the plaintiff

   was not entitled to certain declaratory relief. Allen F. Johnson, 642 F. Supp. 2d at

   535. The plaintiff filed a motion to amend the court’s judgment, which was

   denied. Id. The plaintiff then appealed the denial of its motion to amend. Id.

   Subsequent to filing its appeal, the plaintiff sought to enforce the monetary

   judgment. Id. The Allen F. Johnson court held that “[a] prevailing party should

   not ordinarily be allowed simultaneously to enforce and appeal an indivisible

   judgment for the obvious reason that the appeal result may well alter the

   judgment’s terms or amount,” but “where an appeal of a portion of a divisible

   judgment has no potential to alter or affect in any way the unappealed divisible

   portions of the judgment, there is no bar to a prevailing party seeking to enforce or

   collect the divisible unappealed judgment parts.” Id. at 537.

         The Court observes that the Allen F. Johnson opinion predates the 2018

   Amendments to Federal Rule of Civil Procedure 62(b). The advisory comments to
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   the 2018 Amendments include as an example that “a party may wish to secure a

   stay pending disposition of post-judgment proceedings after expiration of the

   automatic stay, not yet knowing whether it will want to appeal.” Advisory

   Comment, Fed. R. Civ. P. 62 (amended 2018). This comment suggests that a stay

   may be sought and granted even if the grounds for appeal are not fully articulated

   or finalized. Allen F. Johnson is also distinguishable from the instant case in that

   Defendants are not seeking to simultaneously enforce and appeal distinct parts of

   the Court’s judgment. As the Court observed in awarding attorneys’ fees and costs

   in this case, the trespass, conversion, and declaratory judgment claims are

   “intrinsically connected to the remaining claims in this case based on their

   common facts and allegations.” Osage Wind III, 2024 WL 5158188, at *27.

   Because there is the potential for the appellate court’s determination to impact the

   monetary award, the Court cannot treat the monetary award as divisible from the

   pending appeal.

         Plaintiff argues that the amount of the supersedeas bond proposed by

   Defendants is insufficient because it does not account for the trespass damages and

   attorneys’ fees and costs that will continue to accrue during the pendency of an

   appeal. Pl.’s Resp. at 1–3. Based on the duration of the prior appeal in this case

   (December 2015–January 2019), Plaintiff estimates that an additional

   $1,163,472.61 should be added to the bond amount. Id. at 3. This amount consists
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   of two components. First, the Court’s opinion provides that additional trespass

   damages will continue to accrue in the amount of $8,400.00 on the first day of

   September each year until the wind towers are removed from the Osage Mineral

   Estate and the mineral estate is returned to Plaintiff. Osage Wind III, 2024 WL

   5158188, at *17. Plaintiff contends that an additional $33,600.00 in damages is

   likely to accrue before the appeal is resolved. Pl.’s Resp. at 2–3. Second, Plaintiff

   contends that attorneys’ fees and costs will continue to accrue during the pendency

   of the appeal. Id. at 3. Plaintiff argues that it accumulated $3,766,242.02 in

   attorneys’ fees during the prior ten years of this case, amounting to an annualized

   sum of $376,624.20. Id. Based on this figure, Plaintiff calculates that it is likely to

   incur an additional $1,129,872.61 in appellate attorneys’ fees during a three-year

   appeal. Id.

         Plaintiff’s calculation of additional damages and attorneys’ fees are too

   speculative to be considered for purposes of assessing a bond. The purpose of the

   supersedeas bond is to “secure[] the judgment against insolvency of the judgment

   debtor and is usually for the full amount of the judgment.” Strong v. Laubach, 443

   F.3d 1297, 1299 (10th Cir. 2006). To date, only the $8,400.00 that accrued on

   September 1, 2024 has become payable as part of the judgment. Osage Wind III,

   2024 WL 5158188, at *17. All future damages are speculative and the Court is

   unwilling to speculate as to how long the appellate court will take to resolve the
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   appeal. Similarly, Plaintiff’s estimate of attorneys’ fees that might accrue over the

   pendency of the appeal is based on the unreasonable assumption that costs will be

   incurred at the same rate as they were at the trial level. The amount of attorney

   work required to prepare a case for trial, including the discovery process, is not

   always proportionate to the amount of work required to defend a case on appeal

   and the Court cannot assume that Plaintiff’s costs will continue to accumulate at

   the same rate as they have to date.

         Plaintiff-Intervenor also seeks a bond covering the potential litigation costs

   of an appeal. Pl.-Interv.’s Resp. at 3–6. Unlike Plaintiff’s argument that future

   attorneys’ fees should be included in the supersedeas bond, Plaintiff-Intervenor

   contends that a separate bond should be ordered under Federal Rule of Appellate

   Procedure 7. Id. Federal Rule of Appellate Procedure 7 provides that “[i]n a civil

   case, the district court may require an appellant to file a bond or provide other

   security in any form and amount necessary to ensure payment of costs on appeal.”

   Fed. R. App. P. 7. “The purpose of a Rule 7 appeal bond is to ensure that the

   appellant, if he is unsuccessful on appeal, can pay the ‘costs on appeal’ incurred by

   his opponent.” Tennille v. Western Union Co., 774 F.3d 1249, 1254 (10th Cir.

   2014). The Tenth Circuit Court of Appeals has recognized that “cost on appeal” is

   limited to costs expressly provided for by rule or statute. Id. at 1255. Plaintiff-

   Intervenor estimates its potential attorneys’ fees and costs on appeal to be
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  approximately $300,000.00. Pl.-Interv.’s Resp. at 5–6. Pl.-Intervenor has not

  suggested that Defendants would be unable to pay the amount of $300,000.00 if

  the award is sustained on appeal. This amount is also less than the amount in

  excess to the monetary award included in the proposed supersedeas bond. The

  Court concludes that an additional bond under Federal Rule of Appellate Procedure

  7 is not necessary to ensure that Defendants can cover Plaintiff-Intervenor’s “costs

  on appeal.”

        The Court has “inherent discretionary authority in setting supersedeas

  bonds.” Miami Int’l Realty Co. v. Paynter, 807 F.2d 871, 873 (10th Cir. 1986).

  The Court awarded $309,432.28 in damages and $3,887,687.88 in attorneys’ fees

  and costs. Osage Wind III, 2024 WL 5158188, at *32. Defendants’ proposed

  bond of $5,036,500.00 is approximately 120 percent of the total monetary award.

  The Court finds that this amount provides reasonable security for the full monetary

  award of the judgment. Defendants’ motion as it pertains to the monetary award is

  granted and execution of the monetary award shall be stayed upon the posting of a

  supersedeas bond in the amount of $5,036,500.00.

        II.     Injunctive Relief

        The Court held Defendants liable for continuing trespass and ordered

  ejectment of the wind towers. Osage Wind III, 2024 WL 5158188, at *23–24, *32;

  Osage Wind II, 710 F. Supp. 3d at 1038, 1039–42. Defendants move for the Court
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  to stay enforcement of the injunction pending resolution of the appeal. Defs.’ Br.

  at 7–22; Defs.’ Reply at 3–10. Plaintiff and Plaintiff-Intervenor oppose the

  requested stay. Pl.’s Resp. at 3–17; Pl.-Interv.’s Resp. at 6–17.

        Federal Rule of Civil Procedure 62(d) provides that while an appeal of a

  final judgment granting injunctive relief is pending, “the court may suspend,

  modify, restore, or grant an injunction on terms for bond or other terms that secure

  the opposing party’s rights.” Fed. R. Civ. P. 62(d). A request to stay injunctive

  relief is evaluated under a four-factor framework:

        (1) whether the stay applicant has made a strong showing that he is
        likely to succeed on the merits; (2) whether the applicant will be
        irreparably injured absent a stay; (3) whether issuance of the stay will
        substantially injure the other parties interested in the proceeding; and
        (4) where the public interest lies.

  Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S.

  770, 776 (1987)). The U.S. Supreme Court has observed that the first two factors

  are the most critical. Nken, 556 U.S. at 434.

               A.     Success on the Merits

        A strong showing of a likelihood of success on the merits requires “more

  than the mere possibility of relief.” Id. Defendants assert three arguments in

  support of their contention that they are likely to prevail on appeal. Defs.’ Br. at

  7–17. First, Defendants argue that the Court erred in finding that the continued use

  of excavated minerals as backfill for the wind towers is a continuing trespass. Id.
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  at 8–11. Second, Defendants contend that the required elements for an injunction

  were not met because Plaintiff did not make a showing of irreparable harm. Id. at

  11–16. Third, Defendants contend that the ordered removal is not narrowly-

  tailored because removal of the offending backfill might be possible. Id. at 16–17.

        The Court will address each of these theories in turn, beginning with

  Defendants’ contention that the Court’s finding of a continuing trespass was in

  error. Defendants take the position that the only conduct that qualified as mining

  under the Tenth Circuit Court of Appeals’ opinion in Osage Wind I was the sorting

  and crushing of the extracted minerals. Id. at 8–9. They argue that the removal

  and continued use of the extracted minerals might have constituted trespass or

  conversion, but not a continuing trespass. Id. at 9–10.

        Defendants’ argument regarding continuing trespass was considered by the

  Court prior to ordering the injunction. As the Court explained in Osage Wind II,

  “[c]ontinuing trespass occurs when ‘the ongoing, unabating nature of certain

  trespasses continuously gives rise to causes of action that the victim can sue on,

  and eventually can support equitable relief.’” Osage Wind II, 710 F. Supp. 3d at

  1032 (quoting Davilla v. Enable Midstream Partners L.P., 913 F.3d 959, 971 n.8

  (10th Cir. 2019)). The Court further observed that the Tenth Circuit Court of

  Appeals adopted a broad meaning of the terms “mining” and “mineral

  development” in Osage Wind I, including “exploit[ing] the crushed rocks as
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  structural support for each wind turbine.” Id. at 1035–36 (quoting Osage Wind I,

  871 F.3d at 1091–92); see also Osage Wind I, 871 F.3d at 1091 (“[A]t the very

  least that ‘mineral development’ includes, but is not limited to, action upon the

  minerals in order to exploit the minerals themselves.”). The Court further

  expressed that if ambiguity exists in whether use of the extracted materials

  qualifies as mining under the applicable regulations, the Indian canon of

  interpretation requires the Court to adopt an interpretation favoring the Osage

  Nation’s interests. Osage Wind II, 710 F. Supp. 3d at 1038.

        In Osage Wind III, this Court addressed Defendants’ contention that the use

  of the backfill could not be a continuing trespass because it was a trespass or

  conversion. Osage Wind III, 2024 WL 5158188, at *24. Though sharing common

  facts, each of the three claims—conversion, trespass, and continuing trespass—was

  a distinct offense that resulted in a distinct injury. See id. at *16. The injury

  caused by Defendants’ continuing trespass was an interference to the sovereignty

  of the Osage Nation, which cannot be cured through the same monetary damages

  available for trespass or conversion claims. Id. at *24; Osage Wind II, 710 F.

  Supp. 3d at 1041. For these reasons and others discussed in the Court’s prior

  opinions, Defendants have not made a strong showing that they are likely to

  succeed on the merits of their challenge to the Court’s holding that the continued

  use of backfill constituted a continuing trespass.
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        The Court next turns to Defendants’ contention that the required elements of

  an injunction have not been satisfied in this case because Plaintiff and Plaintiff-

  Intervenor did not make a showing of irreparable harm. Defs.’ Br. at 11–16. The

  crux of Defendants’ argument is that irreparable harm does not exist because the

  injury caused by Defendants’ failure to secure the required lease can be cured

  through an award of monetary damages. Id. at 13. Defendants support this

  argument with the fact that Plaintiff and Defendants provided experts at trial on the

  issue of damages. Id. at 13–14.

        As the Court explained in its prior opinions, there is a distinction between

  the claims of trespass and conversion that resulted in a monetary injury and the

  claim of continuing trespass that resulted in an injury to the sovereignty of the

  Osage Nation. Osage Wind III, 2024 WL 5158188, at *24; Osage Wind II, 710 F.

  Supp. 3d at 1041. Defendants contend that no injury to the Osage Nations’

  sovereignty could have occurred because the Osage Minerals Council did not have

  the power to exclude the wind farm, only the power to require leases. Defs.’ Br. at

  14. Defendants are correct that they could have sourced backfill from a third-party

  provider and likely not triggered the lease requirement, but they did not do so.

  Instead, Defendants chose to extract and exploit minerals from the Osage Mineral

  Estate, despite receiving a cease-and-desist letter and other communications from

  the Osage Minerals Council advising that a lease was required. Defendants never
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  tried to satisfy the lease requirement or remit the associated royalties to the Osage

  Minerals Council, despite continuing to benefit from the use of the wrongfully

  extracted minerals. Unlike the monetary damages suffered from Defendants’

  trespass and conversion, the injury to the Osage Nations’ sovereignty over the last

  decade cannot be easily cured through an exchange of money. For these reasons

  and others discussed in the Court’s prior opinions, Defendants have not made a

  strong showing that they are likely to succeed on the merits of their challenge to

  the elements for injunctive relief. See Osage Wind II, 710 F. Supp. 3d at 1035–38.

        Defendants’ final argument regarding their likelihood of success on the

  merits of the appeal concerns the potential for the backfill used in the construction

  of the wind towers to be removed and replaced with backfill not composed of

  minerals wrongfully extracted from the mineral estate. Defs.’ Br. at 16–17.

  Defendants contend that removal and replacement is a more narrowly-tailored

  approach than complete ejection of the wind farm. Id. In August 2023, the Court

  invited Defendants to discuss during oral argument whether it would “be possible

  to remove and replace the backfill without completely removing the wind towers.”

  Letter (Aug. 30, 2023) at 2 [Doc. 373]. Only after the Court ruled in Osage Wind

  II that the wind towers must be removed, more than five months after the Court’s

  invitation to address the question, did Defendants first propose replacement of the

  backfill. Defs.’ Br. Resp. Feb. 8, 2024 Order at 2–3, 7–10 [Doc. 396]. The only
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  support offered by Defendants for the potential removal and replacement of the

  backfill was a declaration prepared by Defendants’ President and CEO, Stephen

  Pike. Decl. Stephen Pike [Doc. 396-1]. The declaration provided only a general

  description of the timeline and process of removal and replacement. See id. at 7–

  11. It did not discuss the feasibility of the option or seemingly rely on any data or

  evidence. See id.

        An injunction must be narrowly-tailored to remedy the harm shown.

  Garrison v. Baker Hughes Oilfield Operations, Inc., 287 F.3d 955, 962 (10th Cir.

  2002). As the Court explained in its prior opinions, “the harm resulting from

  Defendants’ continuing trespass is not only the continued use of the wrongfully

  obtained backfill, but also the interference with the Osage Nation’s sovereignty.”

  Osage Wind III, 2024 WL 5158188, at *23; Osage Wind II, 710 F. Supp. at 1041–

  42. The Court disagrees that the removal and replacement of the backfill at this

  stage would remedy this harm. Furthermore, Defendants have not demonstrated

  that removal and replacement is a viable option. For these reasons and others

  discussed in the Court’s prior opinions, Defendants have not made a strong

  showing that they are likely to succeed on the merits of their argument that the

  removal and replacement of the backfill is a more narrowly-tailored form of relief.
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                  B.   Irreparable Injury to Defendants

        Defendants contend that they will suffer significant monetary losses if a stay

  is not granted. Defs.’ Br. at 18–20. Purely economic loss alone usually cannot

  constitute irreparable harm. Schrier v. Univ. of Co., 427 F.3d 1253, 1267 (10th

  Cir. 2005). Irreparable harm may exist when later recovery of the economic loss is

  not feasible. Chamber of Commerce v. Edmondson, 594 F.3d 742, 770–71 (10th

  Cir. 2010); see also Crowe & Dunlevy, P.C. v. Stidham, 640 F.3d 1140, 1157–58

  (10th Cir. 2011) (recovery of attorneys’ fees was not likely from a tribal

  government that would be immune from suit).

        Defendants estimate that dismantling the 84 wind towers will cost $36

  million. Defs.’ Br. at 18. They also claim that they will suffer losses related to the

  inability to satisfy tax equity partners, damages and expenses related to the

  termination of the surface leases and other agreements, and the loss of cash flow

  generated by the project. Id. Defendants suggest that the total impact of the

  ordered removal would be more than $163.5 million. Id. at 17. Defendants further

  assert that if the wind farm is dismantled, it will be nearly impossible to rebuild.

  Id. at 18–19.

        Plaintiff argues that the cost of dismantling that wind towers is not overly

  burdensome because Oklahoma law would require Defendants to submit the same

  amount in a surety bond to the Oklahoma Corporation Commission if the wind
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  farm remains in operation for 15 years. Pl.’s Resp. at 10 (citing 17 Okla. St.

  § 160.15(A)). Plaintiff further challenges Defendants’ assertions regarding future

  lost cash flow and the inability to rebuild as vague and conclusory. Id. at 11.

  Plaintiff-Intervenor argues that all of Defendants’ claimed economic injuries are

  nothing more than the inability to profit from the wind farm. Pl.-Interv.’s Resp. at

  15–16.

        The Court agrees that at least a portion of the potential economic harm

  asserted by Defendants is speculative and based on future cash flows that might

  never be realized. The Court does not agree with Plaintiff-Intervenor’s argument

  that no cognizable economic injury would be suffered by the removal of the wind

  towers. Removal of the wind towers would involve costs associated with

  dismantling the structures and concluding surface leases and other contractual

  arrangements. The Court also notes that neither Plaintiff nor Plaintiff-Intervenor

  address the issue of whether Defendants would be able to recoup their losses if

  successful on appeal. As Plaintiff is the United States Government and Plaintiff-

  Intervenor is an instrumentality of the sovereign Osage Nation, it is reasonable to

  assume that sovereign immunity would present an obstacle against Defendants

  seeking to recover economic losses through litigation. See Crowe & Dunlevy, 640

  F.3d at 1157–58. For these reasons, the Court concludes that the likelihood that
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  Defendants will suffer irreparable harm weighs in favor of granting the requested

  stay.

                C.    Substantial Injury to Plaintiff and Plaintiff-Intervenor

          Defendants contend that granting the requested stay would not substantially

  injure Plaintiff or Plaintiff-Intervenor and would preserve the status quo. Defs.’

  Br. at 20–21. Plaintiff and Plaintiff-Intervenor counter that the injury to the Osage

  Nation’s sovereignty is ongoing and will continue to be suffered until the wind

  towers are removed. Pl.’s Resp. at 13–15; Pl.-Interv.’s Resp. at 16–17.

          Defendants contend that granting the appeal will temporarily preserve the

  status quo. Defs.’ Br. at 20 (citing McClendon v. City of Albuquerque, 79 F.3d

  1014, 1024 (10th Cir. 1996)). As the Court previously noted, the ability of a tribe

  to assert authority over the activities of non-tribe members on its land is a part of

  tribal sovereignty. Osage Wind II, 710 F. Supp. 3d at 1040 (citing Iowa Mut. Ins.

  Co. v. LaPlante, 480 U.S. 9, 17 (1987)). “The tribe’s ‘traditional and undisputed

  power to exclude persons’ from tribal land, . . . gives it the power to set conditions

  on entry to that land via licensing requirements and hunting regulations.” Plains

  Commerce Bank v. Long Family Land and Cattle Co., 554 U.S. 316, 335 (2008)

  (quoting Duro v. Reina, 495 U.S. 676, 696 (1990)). The status quo in this case is

  that the Osage Nation has continuously suffered injury to its sovereignty over the

  course of the prior decade and will continue to do so until the wind towers are
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  removed. For these reasons, the Court finds that Plaintiff and Plaintiff-Intervenor

  will suffer substantial injury if the stay is granted.

               D.     Public Interest

        Defendants contend that the public interest weighs in favor of granting the

  stay because removal of the wind farm would have adverse impacts on Osage

  county, two school districts, surface rights owners, and employees. Defs.’ Br. at

  21–22. Defendants also contend that removal of the wind tower will generate a

  considerable amount of waste, negatively impacting the environment, and deprive

  the community of a source of clean energy. Id. at 21. Many of these arguments

  were previously considered by the Court in granting the injunction. Osage Wind

  II, 710 F. Supp. 3d at 1041. In Osage Wind II, the Court stated:

        [t]he benefit to the local schools appears to be related to Defendants’
        tax obligations. There is no guarantee that such funding would continue
        or remain at consistent levels in the future or that it would not be
        eclipsed by offsets or tax benefits to Defendants. Similarly, it is
        possible that the income that surface owners would derive from surface
        leases could be replaced by leases with other parties wishing to develop
        the area if the wind towers were removed.

  Id.

        The Court has not previously considered the environmental impact of

  removal, but notes that the wind farm is not a permanent fixture and that the waste

  related to removal will eventually be created regardless whether the wind towers

  are decommissioned now or years in the future. Defendants also contend that the
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  stay is in the public interest because the wind farm provides energy for more than

  50,000 households. Defs.’ Br. at 21. Though ensuring reliable electricity to the

  community is in the public interest, it has not been suggested that alternative

  energy sources are unavailable to replace the energy provided by the wind farm.

  See Utah Env’t Congress v. Bureau of Land Mgmt., 119 Fed. App’x 218, 220

  (10th Cir. 2004) (affirming the denial of a permanent injunction that “would

  prevent the mining of enough coal to provide electricity to nearly a half million

  households for an entire year.”). Similarly, Defendants argue that nine people are

  employed by the wind farm and would lose their jobs if the stay is not granted, but

  have not asserted that those employees would be unable to find other comparable

  employment. See id. at 21–22.

        Balancing against the arguments raised by Defendants is the federal public

  policy that “Indians develop independent sources of income and strong self-

  government.” Seneca-Cayuga Tribe of Okla. v. Okla., 874 F.2d 709, 716 (10th

  Cir. 1989); Iowa Mut. Ins. Co., 480 U.S. at 17. Considering these factors, the

  Court finds that public interest does not weigh in favor of granting the stay.

               E.     Balancing the Factors

        Whether to grant a stay is a fact-specific “exercise of judicial discretion.”

  Nken, 556 U.S. at 433. As discussed above, three of the four factors—likelihood

  of success on the merits, the risk of substantial injury to Plaintiff and Plaintiff-
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  Intervenor, and the public interest—weigh against granting the requested stay.

  Only the likelihood of irreparable harm to Defendants weighs in favor of granting

  the stay. The factors, however, are not equal in the Court’s analysis with the

  likelihood of success on the merits and the risk of irreparable injury being viewed

  as the most critical. Id. at 434. In this case, the Court is cognizant of the scale of

  the wind farm removal and the likelihood that the appeal is unlikely to be fully

  resolved before the deadlines imposed by the Court’s opinion. If the stay is not

  granted, Defendants would be required to complete the costly and potentially

  irreversible process of deconstructing the wind farm before the appellate court has

  an opportunity to consider the case. The Court holds that granting a stay of the

  injunction is appropriate in this case.

               F.     Performance Bond

        Plaintiff and Plaintiff-Intervenor urge the Court to require Defendants to

  post a bond in the amount of $50,000,000.00 to secure their rights if the injunctive

  relief is stayed. Pl.’s Resp. at 18–21; Pl.-Interv.’s Resp. at 17–18. Federal Rule of

  Civil Procedure 62(d) provides: [w]hile an appeal is pending from an interlocutory

  order or final judgment that grants, continues, modifies, refuses, dissolves, or

  refuses to dissolve or modify an injunction, the court may suspend, modify,

  restore, or grant an injunction on terms for bond or other terms that secure the

  opposing party’s rights.” Fed. R. Civ. P. 62(d) (emphasis added). The amount of
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  $50,000,000.00 proposed by Plaintiff and Plaintiff-Intervenor represents the

  estimated amount required to physically remove the wind towers. Pl.’s Resp. at

  18–21. Though a bond is appropriate to secure Plaintiff’s and Plaintiff-

  Intervenor’s interests while the injunction is stayed, the Court is not convinced that

  the full amount of $50,000,000.00 is necessary in this case. The Court’s judgment

  also serves as a form of security to ensure that the wind farm will be removed if the

  appeal is unsuccessful and there has been no showing that Defendants would be

  unable to comply with the Court’s judgment. The Court finds that a bond of

  $5,000,000.00, ten percent of the estimated value of removal, is appropriate. See

  Order (Apr. 24, 2018) [Doc. 85], Davilla v. Enable Midstream Partners LP, Court

  No. 17-6088 (10th Cir.) (ordering a bond of ten percent of the estimated value of

  removing an oil pipeline).

        Plaintiff-Intervenor also requests that the Court condition a stay of the

  injunction on Defendants being required to place gross profits earned from the

  wind farm during the appeal into escrow. Pl.-Interv.’s Resp. at 18. Plaintiff-

  Intervenor has provided no support for this request. See id. The Court’s judgment

  did not include disgorgement of Defendants’ profits and there is no reason that

  Plaintiff or Plaintiff-Intervenor would be entitled under the Court’s judgment to

  those profits if the appeal is unsuccessful. The Court will not order such additional

  security. Defendants’ motion as it pertains to the injunctive award is granted and
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  execution of the injunction shall be stayed upon the posting of a bond in the

  amount of $5,000,000.00.

                                        ORDER

        ACCORDINGLY, IT IS HEREBY:

        ORDERED that Defendants’ Motion to Stay Judgment Pending Appeal and

  Brief in Support [Doc. 520] is granted; and it is further

        ORDERED that execution of the Court’s Judgement [Doc. 516] is stayed

  pending resolution of Defendants’ appeal in United States v. Osage Wind, LLC,

  Court No. 25-5020 (10th Cir.); and it is further

        ORDERED that Defendants shall post a bond under Federal Rule of Civil

  Procedure 62(b) and (d) in the amount of $10,036,500.00 with the Court within 14

  days of this Opinion and Order.

        IT IS SO ORDERED this 3rd day of March, 2025.

                                                          /s/ Jennifer Choe-Groves
                                                             Jennifer Choe-Groves
                                                           U.S. District Court Judge*

  *
    Judge Jennifer Choe-Groves, of the United States Court of International Trade,
  sitting by designation.
